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           AFFIDAVIT OF RECORDS CUSTODIAN CERTIFYING RECORDS




   I, Thomas H Riley,III, being duly sworn upon my oath, hereby state the following:

          1. 1 am employed as the Director ofBusiness Services by the Tennessee Secretary
             of State Tre Hargett.

          2. 1 am personally familiar with the record keeping practices and procedures ofthe
             Business Services Division and 1 have authority to certify the attached records.

          3. A request has been made pursuant to subpoena issued by the United States
             District Court for the_District ofHawaii for certain records pertaining to:
                 a) Anthony Trov Wllliai^s

         4. This subpoena was received by our office on Fehmarv 4. 2020.

         5. This office has no records requested by this subpoena


  1 hereby declare,imder penalty ofpegury,that the foregoing is true and correct.



  Thomas H Riley, 111
  Director ofBusiness Services
  Tennessee Secretary of State


  STATE OF TENNESSEE
  COUNTY OF DAVIDSON

  Swom to and subscribed before me this




  My Commission Expires:

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